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                                                                                United States District Court
                                                                                  Southern District of Texas

                          UNITED STATES DISTRICT COURT                               ENTERED
                           SOUTHERN DISTRICT OF TEXAS                             February 25, 2021
                               MCALLEN DIVISION                                   Nathan Ochsner, Clerk



UNITED STATES OF AMERICA                       §
                                               §
versus                                         §           Case No. 7:21−mj−00387
                                               §
Yolanda Pena                                   §

                                           ORDER

       In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the
Government is hereby notified of and ordered to comply with (1) the prosecutor's disclosure
obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the
possible consequences of violating this Order, which may include sanctions such as the
delay of trial or other proceedings, the exclusion of evidence, the giving of adverse jury
instructions, the granting of a new trial, the dismissal of an action, or a finding of contempt.
      It is so ORDERED.
      SIGNED the 25th of February 2021 at McAllen, Texas.
